                          UNITED STATES BANKRUPTCY COURT
                           EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION - FLINT

IN RE:

         BARBARA F. PALMER,                                Case No. 12-33124-dof
                                                           Chapter 7 Proceeding
            Debtor.                                        Hon. Daniel S. Opperman
_____________________________________/

                      ORDER ESTABLISHING DISCOVERY DEADLINE

         On March 7, 2018, the Court held a telephonic status conference regarding the Trustee’s

Objection to Debtor’s Amended Exemptions and concluded that discovery should be open.

         NOW, THEREFORE, IT IS HEREBY ORDERED that discovery regarding the Trustee’s

Objection to Debtor’s Amended Exemptions is open until further order of the Court.


Signed on March 09, 2018




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